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                                                                                 BWW#: 190459

                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division
 IN RE:                                                           Case No. 14-14753-RGM
 DENNELL E. HINES
 KAREN ANN HINES AKA KAREN A. BLAKENEY
     Debtors                                                      Chapter 7


 WELLS FARGO BANK, N.A.
     Movant
 vs.
 DENNELL E. HINES
 KAREN ANN HINES AKA KAREN A. BLAKENEY
     Debtors/Respondents
 and
 DONALD F. KING
     Trustee/Respondent


                               MOTION FOR RELIEF FROM AUTOMATIC STAY
      COMES NOW, Wells Fargo Bank, N.A. (the "Movant"), by and through counsel, Jason
 Michael Floyd and BWW Law Group, LLC and respectfully represents as follows:
         1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157.
         2. Movant is a mortgage lender.
        3. On or about December 23, 2014, Karen Blakeney aka Karen Ann Hines aka Karen
 A. Blakeney and Dennell Hines aka Dennell E. Hines (the "Debtors") filed a voluntary
 petition for relief in this Court under Chapter 7 of the United States Bankruptcy Code.

         4. Donald F. King is the Trustee of the Debtors' bankruptcy estate.
       5. At the time of the initiation of the bankruptcy proceedings, the Debtors owned a
 parcel of real estate located in Prince William County, Virginia, and improved by a residence
 known as 16630 Reservoir Loop, Dumfries, VA 22026 (the "Property").

       6. The Property is encumbered by a Deed of Trust dated April 18, 2008, securing the
 Movant, and recorded among the land records of the jurisdiction in which all or part of the
 Property lies (the "Deed of Trust"). (A copy of the Deed of Trust is attached hereto and filed
 as Exhibit "1").


 Jason Michael Floyd, VSB# 87522
 8100 Three Chopt Rd., Suite 240
 Richmond, VA 23229
 (804) 282-0463
 Attorney for the Movant
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       7. The Deed of Trust secures payment of a promissory note in the original principal
 amount of $312,400.00 now payable to Movant (the "Note"). (A copy of the Note is attached
 hereto and filed as Exhibit "2").
       8. Effective on or about December 01, 2013, the terms of the Note and Deed of Trust
 were modified in accordance with the terms of a loan modification agreement (the "Loan
 Modification Agreement"). Pursuant to the terms of the Loan Modification Agreement, the
 principal balance due on the Note was modified to $270,439.55, and the interest rate and
 monthly principal and interest payment amounts were adjusted. (A copy of the Loan
 Modification Agreement is attached hereto and filed as Exhibit "3").
      9. The Debtors are in default under the terms of the Note, Loan Modification
 Agreement, and Deed of Trust. The Movant has accelerated the entire balance of the Note and
 Deed of Trust, and interest continues to accrue on a daily basis.
       10. As of March 11, 2015, the amount due to the Movant under the terms of the Note,
 as modified by the Loan Modification Agreement, through March 11, 2015 is approximately
 $260,295.44, plus per diem interest and other advances made by the Movant (i.e., taxes,
 insurance). (A Total Debt Worksheet is attached hereto and filed as Exhibit "4").
      11. As of March 11, 2015, the Debtors are contractually due and owing for the
 November 01, 2014 payment and all payments thereafter. Debtors have failed to make 5
 monthly payments, minus credit for funds in suspense, for a total arrearage of $7,610.79.
       12. The Property is not necessary for an effective reorganization by the Debtors.

        13. The Movant lacks adequate protection of its interest in the Property. The Movant
 has been and continues to be irreparably injured by the stay of 11 U.S.C. §362(a) of the
 Bankruptcy Code which prevents Movant from enforcing its rights under the Note, Loan
 Modification Agreement, and Deed of Trust. Cause exists for lifting the automatic stay
 imposed by 11 U.S.C. §362(a) of the Bankruptcy Code, to enable the Movant to enforce its
 rights under the terms of the Note, Loan Modification Agreement, and Deed of Trust.


       WHEREFORE, the Movant prays that this Court:
       1. Enter an order, pursuant to 11 U.S.C. §362(d), lifting the automatic stay imposed by
 11 U.S.C. §362(a) of the Bankruptcy Code, to enable Movant to enforce the lien of its Deed of
 Trust encumbering the Property, and to exercise all of the rights and remedies available to
 Movant pursuant to applicable state law and the terms of the Deed of Trust and Note; and

       2. Grant such other and further relief as necessary.
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 Dated: March 17, 2015                       Respectfully Submitted,
                                             BWW Law Group, LLC

                                              /s/ Jason Michael Floyd
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                                             (804) 282-0541 (facsimile)
                                             bankruptcy@bww-law.com
                                             Attorney for the Movant
                                 CERTIFICATE OF SERVICE
        I certify that on this 17th day of March, 2015, the following person(s) were or will be
 served a copy of the foregoing Motion for Relief from Automatic Stay via the CM/ECF system
 or by first class mail, postage prepaid:

 Donald F. King, Trustee
 1775 Wiehle Avenue, Suite 400
 Reston, VA 20190

 Thomas M. Curtis, Esq.
 6405 Fleetside Court
 Alexandria, VA 22310

 Karen Blakeney aka Karen Ann Hines aka Karen A. Blakeney
 16630 Reservoir Loop
 Dumfries, VA 22026

 Dennell Hines aka Dennell E. Hines
 16630 Reservoir Loop
 Dumfries, VA 22026


                                                 /s/ Jason Michael Floyd
                                                Jason Michael Floyd
